Case 1:21-cr-00086-JMC Document 8-2 Filed 05/25/21 Page 1 of 20

   
 

 

oa RE ai ne SO sestrma acea . < ea x Ss “SPREE EA TRATES AE NANG ERTS

 

 

 

 

Case 1:21-cr-00086-JMC Document 8-2 Filed 05/25/21 Page 2 of 20

 

 

  
    

Ghis certificate has been ainarbed to

~ Michael Haak
of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:21-cr-00086-JMC Document 8-2 Filed 05/25/21 Page 3 of 20

   
Case 1:21-cr-00086-JMC Document 8-2 Filed 05/25/21 Page 4 of 20

Mark Plussa
10845 Bronson Road
Clermont, FL 34711
352-978-8917
Email: mplussa@cfi.rr.com

Judge Mark Coulson
United States Magistrate

Aoril 18, 2021
Dear Sir,

| am writing to you to attest to the professionalism and integrity
of a fellow Captain, Michael Haak. | am aware of the incident that
occurred last August, 2020.

| have known Michael Haak for over 20 years. | met him very
early in my career at Southwest Airlines. | flew with him as a First
Officer and he was.a Captain. | was always impressed with his
professionalism, and work ethic. He always prioritized safety and
compassion for those flying with him. Mike was known for his
outgoing personality and was always engaging with both crew
and passengers. He was known for going that extra mile and the
first to go grab coffee, meals or extra chocolate on those long,
stressful trips. His intentions were to always let those under his
supervision know they were respected, appreciated and valued.
When a mutual friend, and Captain, experienced a tragic event in
his life, Mike was the first one | called. | was too far away to get
there quickly. He dropped everything and went immediately. He
stayed with him until | could get there. He asked me two
questions, “What can | do? How can | help?” then told me he
was on his way. |
Case 1:21-cr-00086-JMC. Document 8-2 Filed 05/25/21 Page 5 of 20

This is the person that | have known for over 20 years. |have |
always respected his leadership skill and to this day | strive to be
more like him. The world needs more people of this caliber. His
40 year career has been unblemished. ij am not the only
colleague that admires and respects him.

Thank you for your time.
Sincerely, |

Captain Mark Plussa
Southwest Airlines
Case 1:21-cr-00086-JMC Document 8-2 Filed 05/25/21 Page 6 of 20

Jeff Gullickson.
3902 Wonderland Dr.

~ Rapid City, SD 57702 |

  
 

April 20, 2021

Honorable J. Mark Coulson
United States Magistrate Judge

Your Honor,

| have known Michael Haak since 1991 when he assisted me in a Boeing 737
Captain qualification course. Obtaining this qualification allowed me to ‘reach
the next step’ in my airline career. | had been flying turboprop aircraft at a
commuter airline in the Northwest. The 737 qualification gave me an
opportunity to fly turbojet aircraft and to someday be a captain on a Boeing 737.
Mike was a valuable asset because he had turbojet experience during his Air
Force career. He was helpful to me relative to understanding the differences
between the two aircraft and was always more than willing to help!

Multiple times, when | was living in Utah and he in Florida, he and his son stayed
with me when they went skiing. They were easy house guests and were always

_very considerate.

Mike has had a stellar career at Southwest Airlines. From a flying standpoint, he
has-had a perfect safety record, and from a customer service standpoint, he has
received accolades from not only from our external customers/passengers, but
also from our internal customers...fellow employees.

| spoke.to Mike shortly after | heard about the incident for which | am writing.
He was clearly very remorseful... told him he would get through this, and that |
would pray for him. . .

One thing | would add, Your Honor. It was a lapse in judgement, but safety was
not compromised. -

Sincerely,

act” om.
ny
a

ie .
" org Ay
. reo fF ‘ crimes
% AY \ AO pn gy nal
if a Ne “
_Case 1:21-cr-00086-JMC Document 8-2. Filed 05/25/21 Page 7 of 20

Chris and Teresa Halliday.
1725 Sparkling Water Circle
Ocoee, FL 34761

321.228.3451

 

April 21, 2021

Honorable Judge J. Mark Coulson

United States Magistrate

Dear Judge Coulson,

My name is Christopher Halliday, and | am the Farm Manager of the University of Florida, Mid-Florida
Research and Education Center in Apopka, Florida. My wife, Teresa Halliday is.an Underwriter at Digital
Risk in Orlando, Florida.

We have known Mike for over 10 years, and 1am writing you on his behalf,

| have flown with Mike many times on Southwest while he was off duty, but still in uniform. He has
always shown the utmost in professionalism both to the working-crew, and to all passengers. If the
working crew needed assistance with the preboard passengers, Mike would always lend a cheerful
hand.

In one instance in Denver, Colorado, we were waiting on the Captain and First Officer to begin our flight.
_ The plane was idle as it was its first flight of the day. Mike was in uniform and volunteered to prep the
plane in advance of the pilot’s arrival to reduce the wait time for departure.

| have also coached volleyball with Mike as both of our daughters played for the same volleyball club
growing up. Oo

Mike has always been exemplary in following proper procedures as a Captain for Southwest Airlines.
ve been around him many times while he was on call, and he never once put his job at risk by not
following the company’s protocols.

 
Case 1:21-cr-00086-JMC . Document 8-2 Filed 05/25/21 Page 8 of 20

NORTHEAST

WI Technical Collage Dr. H. Jeffrey Rafn, President

  

 

~ April 22, 2021

j. Mark Coulson, Magistrate Judge
101 West Lombard Street
Chambers 8D

Baltimore, MD 21201

Dear Judge Coulson:

I am writing this letter on behalf of my cousin-in-law Captain Michael Haak. It was
brought to my attention earlier this month that Captain Haak was involved in an
incident of indecent exposure while in his role.as. a pilot for Southwest Airlines.

In my current role, I oversee the sexual harassment policy for an organization with
1,200 employees and close to 30,000 students. Therefore, the severity of the charge
is well understood. My concern expands beyond the health and wellness of Captain
Haak, but to the other party involved and his wife and two kids, I have known Captain
Haak for over 20 years and I am married to his favorite cousin. Outside of my wife’s
immediate family, Captain Haak and his family were the first of her extended relatives
whom I met ~ and fell in love with. In the absence of my wife’s father, he walked her
down the isle of our wedding.

Captain Haak is someone that T have looked up to over the years and, on most
occasions, strive to be, but better. tT was never looked for perfection in our
relationship — rather truth and honest. I get that from him and his wife. For this, my
wife and I have listed them in our Living Will as trustees of our estate as they both
truly care for the well-being of our four kids.

Life is littered with ups and downs. This is. an opportunity for Captain Haak to be even
more mindful of his behavior and the impact his actions have on others near and far. .
I stand by him during this period and will be there for him throughout this process.

UN Dew omc Loins wen Dba e
Mei Py rary.

Respectfully, —
Mohammed I. T. Bey

445

Chief Officer for Diversity, Equity, & Inclusion
920-498-6826
Mohammed.bey@nwtc.edu

 

TOLL FREE 800-422-NWTC

 

GREEN BAY MARINETTE STURGEON BAY
920-498-5400 715-735-9361 920-746-4900
2740 W. Mason Street: | PO. Box 19042 1601 University Drive 229 N. 14™ Avenue

Green Bay, WI 54307-9042 Marinette, WL 54143 Sturgeon Bay, WI 54235
Case 1:21-cr-00086-JMC Document 8-2 Filed 05/25/21 Page 9 of 20

From
Margaret and David Graef
3358 Horseshoe Bend Ct.

Longwood FL 32779

Date April 23, 2021

To
The Honorable J. Mark Coulson
United States

US District Court of Maryland

Judge Coulson

Your Honor, we are writing this letter on behalf of Michael. Haak. We have been neighbors of Mr. Haak
for the last seventeen years. In the time we have known him, he has proven to be a considerate and
dependable neighbor. Over the years we have spent time with him and his family and traveled together.
He is a dedicated father and enjoys spending time with his family.

While we do not believe what Mr. Haak is being charged for is acceptable behavior by any means, we
wanted to vouch for him as a neighbor and father, as we do believe this to be an isolated incident of bad
judgement.

Sincerely

Mags dng

Margaret Graef

[al Cl

David Graef
Case 1:21-cr-00086-JMC Document 8-2. Filed 05/25/21. Page 10 of 20

James & Silvia Wright
3340 Horseshoe Bend Ct
Longwood, FL 32779 .
gymbo @earthlink.net
407-342-9065

April 23, 2021

To The Honorable Judge Mark Coulson
US District Court of Maryland |
United States .

Re: Michael Haak

Dear Judge Coulson,

This letter is regarding Michael Haak.

We have been neighbors with Michael (Mike) Haak for 20 years and have watched our
families grow up together. . .

He always has had our trust with our children, pets and home. Mike is very helpful and
caring neighbor and friend. .

Our boys played volleyball together, club and high school, which required a lot of
traveling together. We also

have traveled overseas with The Haaks and we have never witnessed anything in the
nature of what he is being 7 :
charged. Mike is a trusted and respected friend and neighbor, who apparently
displayed poor judgement.

Thank you Sir, for taking these comments under consideration.

     

Respectfully yoursy,

  
  

 

Silva P. Wright
 

April 23, 2021

: hig kids teams. Because
play. at the college level,
nature. oe .

| know: of ‘i situation stem

 
‘Case 1:21-cr-00086-JMC Document 8-2. Filed 05/25/21 Page 12 of 20

Phillip L Howard tig

1433 W Windsong Drive
Phoenix, AZ 85045
- (480)273-1121

. philhoward5@gmail.com

April 24, 2021
Honorable Judge.
Mark Coulson

United States Magistrate

Dear Judge Coulson,

| write this letter in support of my esteemed colleague Michael Haak. | have
known Mike for over 32 years. | met Mike when I was assigned to be his Co-

- Pilot in the C-141 of the 52nd Airlift Squadron Norton Air Force Base, California.
During our time at Norton Mike and | flew together many times and | can without |
hesitation say that he was my favorite Aircraft Commander. After our Air Force
careers came to end we reunited in Oakland, California as commercial pilots for

- Southwest Airlines. | was once again fortunate enough to be assigned Mike’s
Co-Pilot. After the many years apart | was still able to call Mike my favorite.
Through the years we have kept in touch and | have always considered him a
friend. You can probably imagine my shock upon hearing the accusations levied
against my friend. Mike has always been a fun loving guy with the utmost
integrity and professionalism. As | was obviously not present on the day of the
incident | cannot speak to the validity of the claims. | can say that | believe
Mike’s account of the incident based on my knowledge of his character and our
history as brothers in arms and professional pilots. Thank you for taking time to
hear my thoughis. —

Sincerely yours,

/ pln
fir } sf} j 3? | ——, 77
aa a5 p f i # ; anon iisrstoeceae . js
ikke 7 / (fo

Phillip L Howard ul
Case 1:21-cr-00086-JMC Document 8-2. Filed 05/25/21 Page 13 of 20

April 24, 2021

Honorable J. Mark Coulson,
Federal Magistrate

101 W. Lombard Street
Baltimore, MD 21201

Ref: Michael Haak

ry

Dear Hon. Coulson,

Lam writing in regards of Mr. Michael Haak who comes before this honorable court. It is
my understanding that Mr. Haak has been charged with a criminal offense and is seeking to enter
a plea of guilty pending your approval. I have been asked to write a letter on his behalf.

Ihave known Mike Haak for 15 years. We met while he. was the volunteer coach of my
daughter’s middle school volleyball team. Mike’s coaching philosophy was about having fun and
teaching the girls good sportsmanship. He was popular among the girls and parents. He is still

one of my daughter’s all-time favorite coaches. .

We continued our friendship through the years. Our families became close and regularly
gathered socially. He is a good father to his children and was active in their development. Mike
was happy to help in my re-election campaign. I remember specifically that at a campaign event,
he won the door prize, but insisted on giving it back to be used in another event. He has a good
heart. I know Mike to be a kind, considerate and gregariou’ man who has never said a bad word
about anyone. He has raised two remarkable children and he enjoys a long and successful
marriage to an equally kind and caring woman.

Lam familiar with the facts of the case before the court. I believe this to be a random act
of bad judgement, As you will learn, Mike has never been in trouble with the law and has led an
exemplary life in our community. After speaking with Mike, I feel that he is sincerely
remorseful. Any punishment imposed by this Court will come secondary to the chastisement he
has imposed upon himself |

I hope this letter aids you in understanding the person that comes before the court. Mike
made a mistake, and he is willing to accept the consequences. I pray this Court to sentence him
_ in a compassionate and just manner.

Sincerely,

 
Case 1:21-cr-00086-JMC Document 8-2. Filed 05/25/21 Page 14 of 20

Stephen T. Ball
1780 Oakbrook Drive
Longwood, FL 32779

April 30, 2021

Honorable J. Mark Coulson, Magistrate Judge .
‘United States District Court, District of Maryland
101 West Lombard Street

Chambers 8D -

Baltimore, MD 21201

Re: Michael Haak
Dear Judge Coulson:

L have known Michael Haak for the better part of fifteen years as both a neighbor and a friend. We have
lived in the same neighborhood and our kids have grown. up together, I have watched Michael coach
volleyball for our children as well as helping other kids reach their goals. As an. example, my Son, Casey,
is just this week starting as a pilot with one of American Airlines regional carriers. Michael was
instrumental in helping my son's dreams to-become. a reality by: taking him flying on the weekends and
encouraging him in the pursuit of his dream.

Although Michael did. make a serious error in judgment in the case in question, this is extremely
uncharacteristic of him, and one act should not, in my opinion, define a person's life or their character. I
have always known Michael to be a very conscientious individual and a family first man. Again, we have
all done something in our life that we regret but should not be defined by this. T have talked with Michael
and I know he is very remorseful for what took place.

Having been atrial attorney partner at a large international law firm for the better part of 33 years, I have
had the opportunity to see and represent many corporations and individuals, I feel that [ have become a
pretty good judge of-people's character as I also-hold a Master's Degree-in: Psychology as well. I say-this
only to emphasize that Ihave known Michael and his family for many years and he has always shown
himself to me to be a good father to his children, husband to his wife, and a person I am proud to call a
friend.

If there is any additional information that I can provide regarding Michael, please do not hesitate to contact
me. oe

   

/ “Stephen T. Ball
Case -1:21-cr-00086-JMC Document 8-2” Filed 05/25/21 Page 15 of 20

EXHIBIT E

   
  

   

    

   

 
  

       

 

Case 1:21-cr-O008@gJMC EOE edged Qoleale1 Page 16 of 20
GEES Ci, a We Pak. | ca
Sen Lee ,

SOUTHWEST AIRLINES PILOTS ASSOCIATION

April 26, 2021

The Honorable J. Mark Coulson
Magistrate Judge .
U.S. District Court, District of Maryland
101 West Lombard Street
Chambers 8D

Baltimore, MD 21204

Re: Michael James Haak (FE# 23885)
Dear Judge Coulson,

Southwest Airlines Pilots Association (the "Association") is the certified labor bargaining unit
representing the over 9,000 pilots employed by Southwest Airlines Co. (“Southwest”). The work rules
and conditions for Southwest pilots are set forth in the collective bargaining agreement negotiated
between the Association and the airline (“CBA”). The current CBA was ratified on November 7, 2016. As
a condition of continued employment with Southwest, and in accordance with the provisions of the
Railway Labor Act, as amended, each pilot covered inthe CBA is required to become a member of the
Association.

The Association’s business records show that Michael James Haak (EE# 23885) was hired by Southwest

as a pilot on January 1, 1994. He retired as a captain from the airline on September 1, 2020. Our

business records show that Captain Haak did not have any employment related issues nor complaints

for which he would have required union representation. In addition, the Association is informed of any .

training issues related to its pilot members. Our records also do not show any training issues for Captain

Haak. in-his 27-year career with Southwest, Captain Haak had spotless employment and training
records,

Sincerely,

Captain Michael Santoro
Vice President

E:

Or 214-722-4225

Brookview Plaza [ 1450 Empire Central Dr., Suite 737 { Ballas; TX 75247
Phone: 224-350-9237 | Tollfree: 800-969-7972 | Fax: 214-350-0647 | Wav. sWwape.org
Case 1:21-cr-00086-JMC Document 8-2. Filed 05/25/21 Page 17 of 20

EXHIBIT G
Case 1:21-cr-00086-JMC Document 8-2 Filed 05/25/21 Page 18 of 20
Southwest Airlines Co, . GPs

Gary C. Kelly
Chairman of ihe Board

. & Chief Executive Officer
2702 Love Field Drive
P.O. Box 36571

Dallas, TX 75235-1644

 
 

August 31, 2020 E023885

Michael Haak
3352 Horseshoe Bend Ct
Longwood, FL 32779

- Dear Mike:

This is a bittersweet moment. | am grateful you were able to take advantage of the 2020 VSP,
and | wish you much happiness and success in this new chapter of your life. However, I'm
definitely feeling the sting of having to say good-bye.

There's a little-known quote from Herb that always comes to mind when | think about how many

People have been part of our Company since we began—and how they've continually embodied
the Spirit of Southwest Airlines. When it comes to growing the Southwest Family, Herb said “The
important thing is to take the bricklayer and make him understand that he’s building a home, not

just laying bricks.”

You, Mike, are a home builder. For 26 years, you paved your part of our history with "bricks” of
kindness, dedication, and hard work. Not only have you helped see us through our most
challenging times for more than two decades, you personally contributed to our most meaningful
Successes. | am immeasurably grateful for your commitment to our Company, our Gustomers,
and fo everyone with whom you have worked. | celebrate your talents and accomplishments, your
contributions to our Culture, and the friendships you have made.

We are blessed that Southwest has been your home for so many years. We will always be
Family. | won't say “good-bye” but, rather, “see you later,” as we very much hope to be part of
your new adventures and future memories. In that Spirit, and with heartfelt gratitude, enclosed is a
small gift of remembrance-—sent with lots of LUV, of course,

| sincerely wish you all the best.

Best regards,

 

Enclosure: Gift
Case 1:21-cr-00086-JMC Document 8-2 Filed 05/25/21. Page 19 of 20 ©

 
 

Bedltad fctonendiagnipliy
Lakscrseney Ee

   

   

Case 1:21-cr-00086-JMC_Doowment 8-2. Filed 05/25/21, Page 20 0f20 { CMA

 

ICAEL

 

 

CENTRAL FLORIDA \/ CARDIOLOGY GROUP, pa
1745 N. Mills Ave > Orlando, FL 32803 (407) 841-7151 + (800) 647-2657
4106 W. Lake Mary Blvd Suite 312 Lake Mary, FL 32746 (407) 333-2142
2441 W. State Road 426, Suite 2021 + Oviedo, FL 32765 (407) 365-7268

5979 Vineland Rd Suite 114 Orlando, FL 32819 (407) 237-0907

Patient: MICHAEL HAAK
DOB: 9/3/1960

SSN? xxx-xx-5166

Patient ID Number: 100574273

Date of Note: 4/2/2021

To Whom It May Concern:

Mr. Haak has been a patient here since 2018, Mr. Haak had a stroke in 2020 and is currently being
treated for this condition. If you have any further questions you can reach me at 407-333-2142.

Thank you, :

 

 

Ajay Thakur, M.D., FA.C.C, (electronically signed)

Scott J, Pollak, M.D,, FA,C.C, Bruce C. Stein, M.D., -F.A.C.C, Phillip R. Anderson III, M.D,
A. Ralph Rodriguez, M.D., RA.C.C Brian Kk. Dublin, M.D. Milind Parikh, M.D., F.A.C.C,

Anil Kumar, M.D., FA.C.C Ajay Thakur, M.D., RA.C.C, Michael P. Potts; M.D., RA.C.C,
Marcos S, Hazday, M.D., EA.C.C.
